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                              UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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 10    J.D.,                                        Case No. 5:18-cv-00469-GW-SHK
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 12    Plaintiff,                                   ORDER ACCEPTING FINDINGS
                             v.                     AND RECOMMENDATION OF
 13                                                 UNITED STATES MAGISTRATE
       ANDREW M. SAUL, Commissioner of              JUDGE
 14
       Social Security,
 15
                                       Defendant.
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 18            Pursuant to 28 U.S.C. § 636, the Court has reviewed Plaintiff’s Complaint,
 19   the relevant records on file, and the Report and Recommendation (“R&R”) of the
 20   United States Magistrate Judge. Electronic Case Filing Number (“ECF No.”) 1,
 21   Complaint; ECF No. 39, R&R. Plaintiff has not objected to the Magistrate Judge’s
 22   R&R. Good cause appearing, the Court accepts the findings and recommendation
 23   of the Magistrate Judge.
 24            IT IS THEREFORE ORDERED that the Commissioner’s decision is
 25   AFFIRMED and Judgment be entered DISMISSING this case without prejudice.
 26   Dated: October 13, 2020
 27                                                           Stanley Blumenfeld, Jr.
                                                            United States District Judge
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